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UNITED STATES DISTRICT CO USDC SDNY fhe
SOUTHERN DISTRICT OF NEW f UMENT “A
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UNITED STATES OF AMERICA ]]@,

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ALEXANDER YAKOVLEV,

COUNT ONE

CONSPIRACY TO COMMIT WIRE FRAUD

The United States Attorney charges:

1. From at least in or about 1993, up to and
including in or about June 2005, in the Southern District of New
York and elsewhere, ALEXANDER YAKOVLEV, the defendant, and others
known and unknown, unlawfully, willfully, and knowingly did
combine, conspire, confederate, and agree together and with each
other to commit offenses against the United States, to wit, to
violate Sections 1343 and 1346 of Title 18, United States Code.

2. It was a part and an object of the conspiracy that
ALEXANDER YAKOVLEV, the defendant, and others known and unknown,
unlawfully, willfully and knowingly, having devised and intending
to devise a scheme and artifice to defraud, and for obtaining
money and property by means of false and fraudulent pretenses,
representations and promises, would and did transmit and cause to
be transmitted by means of wire, radio, and television

communication in interstate and foreign commerce, a writing,
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sign, signal, picture and sound for the purpose of executing such
scheme and artifice, in violation of Title 18, United States
Code, Sections 1343 and 1346.

Overt Acts

3. In furtherance of the conspiracy and to effect the
illegal object thereof, ALEXANDER YAKOVLEV, the defendant, and
others known and unknown, committed the following overt acts, among
others, in the Southern District of New York and elsewhere:

a. In or about 1996, while working as a
procurement officer at the United Nations, YAKOVLEV faxed from New
York to a representative of a foreign company information related
to that company’s bid for an inspection contract under the United
Nations’ Oil-for-Food Program.

b. In or about 2000, while working as a
procurement officer at the United Nations, YAKOVLEV established the
company Moxyco, Ltd., to facilitate the illicit and secret payment
of money to him by foreign companies seeking to secure contracts to
provide goods and services to the United Nations.

Cc. In or about 2000, while working as a
procurement officer at the United Nations, YAKOVLEV received a wire
transfer of money from a foreign company (“foreign company 1") in
return for providing that company with information from the United
Nations regarding a bid for a United Nations contract related to

the airlifting of United Nations supplies to foreign countries.
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d. In or about 2001, while working as a
procurement officer at the United Nations, YAKOVLEV received a wire
transfer of money from a foreign company (“foreign company 2") in
return for his assistance in helping the company obtain contracts
with companies that engaged in business with the United Nations.

e. In or about 2004, YAKOVLEV received a wire
transfer of money from a foreign company (“foreign company 3") in
return for his assistance in helping the company obtain contracts
with companies that engaged in business with the United Nations.

£. In or about 2005, while working as a
procurement officer at the United Nations, YAKOVLEV received a wire
transfer of money from foreign company 1 in return for providing
that company with information from the United Nations regarding a
bid for a United Nations contract related to the airlifting of
United Nations supplies to foreign countries.

(Title 18, United States Code, Section 1349.)

COUNT TWO
WIRE FRAUD

The United States Attorney further charges:

4, From at least in or about 1993, up to and
including in or about June 2005, in the Southern District of New
York and elsewhere, ALEXANDER YAKOVLEV, the defendant, and others
known and unknown, unlawfully, willfully and knowingly, having

devised and intending to devise a scheme and artifice to defraud,
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and for obtaining money and property by means of false and
fraudulent pretenses, representations and promises, would and did
transmit and cause to be transmitted by means of wire, radio, and
television communication in interstate and foreign commerce, a
writing, sign, signal, picture and sound for the purpose of
executing such scheme and artifice, to wit, YAKOVLEV agreed to
receive and did receive secret monetary payments of at least
several hundred thousand dollars from various foreign companies,
the receipt of which benefit deprived the United Nations of the
intangible right of honest services of YAKOVLEV, in relation to
his performance of duties as a procurement officer at the United
Nations, in violation of Title 18, United States Code, Section
1343 and 1346.

(Title 18, United States Code, Sections 1343, 1346 and 2.)

COUNT THREE

CONSPIRACY TO COMMIT MONEY LAUNDERING

The United States Attorney further charges:

5. From at least in or about 2000, up to and
including in or about June 2005, in the Southern District of New
York and elsewhere, ALEXANDER YAKOVLEV, the defendant, and others
known and unknown, unlawfully, willfully and knowingly did
combine, conspire, confederate and agree together and with each
other to violate Sections 1956 (a) (1) (A) (i), 1956(a) (1) (B) (1) and

1957 of Title 18, United States Code.
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6. It was a part and an object of the conspiracy that
ALEXANDER YAKOVLEV, the defendant, and others known and unknown,
in an offense involving interstate and foreign commerce, knowing
that the property involved in certain financial transactions
represented the proceeds of some form of unlawful activity,
unlawfully, willfully, and knowingly would and did conduct and
attempt to conduct such financial transactions, which in fact
involved the proceeds of specified unlawful activity, to wit,
wire fraud in violation of Title 18, United States Code, Section
1343, (a) with the intent to promote the carrying on of specified
unlawful activity, and (b) knowing that the transactions were
designed in whole and in part to conceal and disguise the nature,
location, source, ownership and control of the proceeds of
specified unlawful activity, in violation of Sections
1956 (a) (1) (A) (i) and 1956(a) (1) (B) (i) of Title 18, United States
Code.

7. It was further a part and an object of the
conspiracy that ALEXANDER YAKOVLEV, the defendant, and others
known and unknown, in an offense involving interstate and foreign
commerce, knowing that the property involved in certain financial
transactions represented the proceeds of some form of unlawful
activity, unlawfully, willfully, and knowingly would and did
engage and attempt to engage in monetary transactions in

criminally derived property of a value greater than $10,000,
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which in fact involved the proceeds of specified unlawful
activity, to wit, wire fraud in violation of Title 18, United
States Code, Section 1343, in violation of Section 1957 of Title
18, United States Code.

Overt Acts

8. In furtherance of the conspiracy, and to effect
the illegal objects thereof, the following overt acts, among
others, was committed in the Southern District of New York, and
elsewhere:

a. In or about January 2001, YAKOVLEV faxed a
wire transfer authorization order to the Antigua Overseas Bank
Limited, instructing the bank to transfer more than $10,000 from
a bank account at Antigua Overseas Bank Limited over which
YAKOVLEV had control, to a bank account in Yonkers, New York,
over which YAKOVLEV had control.

b. In or about January 2005, YAKOVLEV caused a
wire transfer of money to be made from a Swiss bank account over
which he had control, to a bank account in New York, New York,
over which he had control.

(Title 18, United States Code, Section 1956 (h).)

Pad MJ. Keo, .
DAVID N. KELLEY
United States Attorney

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

- V =

ALEXANDER YAKOVLEV,

Defendant.

INFORMATION
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(Title 18, United States Code,
Section 1343, 1346, 1349, 1956)

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DAVID N. KELLEY

United States Attorney.

